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lt appears that the actions on this conditional transfer order involve

questions of fact which are common
to the actions previously transferred to the Eastern District of Louis
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iana and assigned to Judge Falion.

 

e Eastem District of Louisiana. The transmittal of this order to said Clerk shall be
stayed fifteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerk
of the Panel Within this fifteen (15) day period, the stay will be continued until further order of the Panel.

" t _§ ~- FoR THE PANEL.- .‘ it

Michael J. Beck

Clerl< of the Panel

 

 

 

 

 

 

 

 

 

 

 

 

!nasmuch as no objection i l ""L ' \
pending at this time, the g AE-F|§US OFFlCE '
stay is lifted , E COPY §._.@Sm____,,mw_.__..,.c_¢
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SCHEDULE CTO-19- TAG-AL()NG ACTIONS l

DOCKET NO.1657

IN RE VIOXX PRODUCTS LIABILITY LITIGATION

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ALABAMA NORTHERN

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CASE CAPTION

 

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ARKANSAS EASTERN
ARE 4 05-684

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CALlFORNlA CENTRAL

J\.,tuc._v i_.. C:UOr\ ‘. ivlcl\,i\ uc Ct_r. xmd ,Cr._trl*. VBCHIECl 7;29/(}5
Alvtn Hudson v. Merck & Co. inc

Joslyn Brown, etc. v Mercl< & Co., lnc.

Chamis Kimani, etc. v, Mercl< & Co., lnc., et al.

Jerry Russeil Langley, et al. v. Merck & Co., Inc.

_ Deltha King v. Merck & Co., Inc.

 

CAC 2 05-3722 Russ Whitmeyer v. Merck & Co., lnc.

CAC 2 05-3853 Jal<e E. Bal<er, et al. v. Mercl< & Co., Inc.

CAC 2 05-3854 Robert Schwartz v. Merck & Co., Inc.

CAC 2 05-3974 l Joe Obbcma et al v. Merck &. Co Inc.

CAC 2 05-3975 Tony Orte§a ct al v Mercl<& Co. ,.Inc

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CAC 2 05-4037 John Tliayer et al. v. Merck & Co., Iuc

CAC 2 05-4038 Judith L. Oldham v Mercl< & Co., Inc.

CAC 8 05-350 .lerry Kirby v. Merck & Co., Inc.
CALlFORNIA EASTERN

CAE 2 05-1027

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CAN 3 05-2349
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FLM 2 05-276
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GEORGLA MIDDLE
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Sltaun Perkins, et al. v, Merck & Co., lnc. t

Kathy Edrnonds, et al. v. Mercl< & Co., Inc., et al.
Pauline Ferrell v. Merck & Co., Inc., et al.

Geraldine Shedd, et al. v. Mercl< & Co., Inc., et al.
William P. Monahan, et al. v Merck& Co., lnc
Thomas M McCulla, et al v. Merck & Co. Inc
Scott S.. Gardnér, et _al v. Merck & Co. Inc.

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Susan M Johnson v. Merck & Co., Inc. l
Mary lane White, et al_ v. Merck & Co., Inc.

Finley F. Gable, Jr., et al. v. Merclc & Co., lnc.

Margie Kay Marlow, et al. v. Merck & Co., Inc.
Jerome E. Lord1 et al. v. Merck & Co., Inc., et al.
Ronaid A. Smith v. Mercl< & Co., Inc., et al.
Michelle Zichlin v. Merck & Co., Inc.

Annie R. Kimbrel, etc. v, Merck & Co., lnc.

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GEORGIA NORTHERN ll
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Rusell Widener, etc. v. Merck & Co., Inc., et al.
Gwendolyn Woods, etc. v. Merck & Co., Inc., et al.
Betty Burnette, etc. v. Merck & Co., Inc.

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Malissia Chance v. Merck & Co., Inc. n

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Glad_vs Danford v. Mercl< & Co., Inc. New GAS C.A. # 5:05-46;
Mae Hiti v_ ideer & Co., Inc. l

Raymond Cross v. Merck & Co., Inc.

Constance Ruyle, et aI. v. Merck & Co., Inc. l
William Lind v. Mercl< & Co., Inc.

Marl< Bcntley, et all v. Mercl< & Co., Inc. l l

Betty Sharl<ey v, Merck & Co., Inc.

 

 

 

 

 

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LOUISlANA MIDDLE
LAM 3 05-83] Maylene T. Lofton v. Merck & Co., lnc.

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Alice Rusell v. Merck & Co., Inc.

Kelly A. Alder, et al. v. Mercl< & Co., Inc.
Leroy F. Lusby v. Merck & Co., Inc.

Barbara C. Persinger v. Merck & Co., Inc. ` ~---
Kathleen Keating v. Merck_§a Co., Inc. _"
Jermette Fairchild v. Merck & Co., Inc. d
David W. Baker v. Mercl< & Co., Inc.

Robert J. Ashley v. Merck & Co., Inc.

Carole Webb v. Merck & Co., lnc.

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Steve A. Olson v. Merck & Co., Inc.

Joyce Hammett v. Merck & Co., Inc.

Billy W. Stanaland v. Merck & Co., Inc.

Caroline E. Wisniewski v. Merclc & Co., Inc.

Mary R. Zimmer v. Merck & Co., Inc.

William Rosen v. Merck & Co., Inc.

Louise J. Ragatz v. Merck & Co., Inc.

Philip P. McGuire v. Mercl< & Co., an.

Colleen L. Lavine v. Merck & Co. Inc. `
Rodney L. Coy v. Merck & Co., Inc. l
Eileen A. Feist v. Merck & Co., Inc. `

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SEC. L/3

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MN 0 05-]080 l Delores T. Ganje v. Merck& Co. ,Inc
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MN 0 05-1101 FrancisJ. Davis v. Merck & Co. ,lnc.
MN 0 05-1102 ; Susan Herrboldt v. Merck &, Co. ,.Inc
MN 0 05-1103 l Victor S. Sorenson v. Merck & Co. ,_1nc l 1
MN 0 05-1104 " Karen L Castellese v Merck & Co. ,.Inc 5
MN 0 05-1105 Lorri S. Book v. Merck & Co. Inc.
MISSOURI EASTERN
MOE 4 05-836 _ Shirley Bailey, et a]. v Mercl< & Co ,Inc. ,et al.
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MOE` 4 05-867 _Edna Stokes v. Merck & Co., Inc
MOE 4 05-869 Dorothy Jackson v Mercl<& Co., Inc. 1
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MISSISSIPPI NORTl-IERN
MSN 3 05-58 Geralcline Guess et al. v. Merck & Co ,Inc.

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NORTH CAROLINA WESTERN
NCW 1 05-222 Patricia Copeland, etc. v. Mcrcl< & Co., Inc.

NEW IERSEY

. NJ 3 05-2525
NJ 3 05-2733

Phyllis Dirl<, etc v. Merck& Co. ,.Inc
NJ 3 05-2734

Ratl<o Zenzerovic v. Merck & Co ,lnc.

 

 

 

 

 

 

 

 

Nsw MEXICO '
NM 1 05-592 Rose Jaramil‘ o v. Merck & Co., Inc. l
NM l 05-593 Julie R Jessen v. Merck & Co.,Inc.1
NM 1 05-595 ! l Linda K. McGlinn v Merclc & Co. lnc. ‘.
NM 1 05-593 1 ‘ Frani< Moyav M@rck& ca. ,.111¢

NM 1 05-599 Anna Marie Rodriguez v. Merck & Co. In.c

NM l 05-625 w_. , f ` Matthew Carrasco v. Mercl< & Co. Inc. ` - m
NM 2""`05~594 l."_ Christopher Wayne Carmickle v. Mercl< & Co., Inc s

NM 2 05~627 Cleo Paiz v. Mercl< & Co. ,Inc. l
NM 2 05-633 Marie Martinez v. Merck & Co ,.,Inc et al.

NM 6 05-596 Michael Ely v. Merck & Co. Inc

NM 6 05-626 Helen Keleher v. Merck & Co., lnc.

NM 6 05-637 Denise Gonaaies v. Merck & Co., Inc., et al.

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NEW YORK EASTERN
NYE [ 05-2446 Rosalie Garcia v. Merck & Co., Inc., et al. 0 5 _3 4 4 0
NYE l 05-2744 J'ohm'iy Dingle v. Merck& Co., Inc. 05-3441
NE%/YORKSOUTHERN
NYS 1 05-5420 Andrcw Montesano v. Mcrck & Co., Inc., et al. 05-3442
OHIO NORTHERN
OHN 1 05-1187 Rcbcrt J. Nolan, et al. v. Merck & Co., Inc. 0 5“3 4 43
OHN l 05-1198 ClotcelJ. Wade v. Merck& Co., Inc. 95""3444
011N 1 05-1201 Connie T. White 1113er & co., 1111:. 05-34 45
OHN 1 05-1205 Georgc Varouh v. Merck & Co., lnc. 0 5-34 46
OHN I 05-1206 Demetrios Ko]lias v. Merck & Co., lnc. 05-3 447
OHN 1 05-1210 Bevcrly Williams v. Merck & Co., Inc. 05"3 44 8
OHN 1 05-1211 1 Leroy emerza, er a1. v. Merck & co., Inc. 05-3 4 4 9
OHN 1 05-1212 Luis F. Tadrzak v. Mcrck & Co., lnc. `1 05-3450
OHN 1 05-1213 David B. Fendcr v. Merck & Co., Inc. 05-3451
OHN 1 05-12]4 Dorothy Wiley v. Merck&Co., Inc. 05`3452
OHN l 05-12]8 1 Kcith L. Jones, et al. v. Merck & Co., lnc. 05“345_3
OH'N 1 115-1219 Byron W. James, etal. v. Merck&Co.,Inc. 05'_3454
OH'N 1 05-1220 Pamela S. Bentley, ct al. v. Merck & Co., Inc. 05-3455
OHN l 05-1221 1 'l`hcodore J. Jcnda, et a1. v Merck &. Co., Inc. 05-3456
oHN 1 05-1222 1 Andrew L.Bames,era1.v. 116er & co., 1111 1 1 05-3 45 7
OHN 1 05-1225 Dan"ek N. Norris, etal. v. Mcrck& Co., Inc. ' 05~3458
OHN I 05_1227 Dona[d L. Moiser, et af. v. Merck & Co., Inc. 0 5 -3 4 5 9
OHN 1 05*1228 Ronald S. Barclay, et al. v. Merck& Co., lnc. 05-346(]
OHN 1 115-1230 Paul Mundo, Jr., et al. v. Mcrck & Co., lnc. 05-34 61
OHN 1 05-1231 Charlene Hutchings, et al. v. Merck & Co., Inc. _ 0 5 -3 4 62
OHN 1 05-1232 RobenC. Myers, et al. v. Merck&Co., Inc. 05-3463
OHN 1 05-1233 1 Jamcs Trusso, etc. v. Merck & Co., [nc. 05-3 464
OHN l 05-1235 , Joseph Udovic, etc. v. Merck & Co., Inc. 0 5-3 4 6 5
OHN 1 05-1242 Pa.mala S. Brewcr v. Merck & Co.,lnc. 7 ""*{)5-34 66
OHN 1 ___05-1243 _`_charIes E. Réynolds, et 111 v. Merck & co., Inc. -~# 05'-34 67
OHN 1 05-1244 Richard Pyne, et al. v. Merck & Co., 111c. L" 05-346 8
OHN 1 05-]245 Ricbard A. Carle, et al. v. Merck & Co., lnc. 05-3 4 6 9
OHN l 05-1246 Linda E. Rader, et al. v Merck & Co., Inc. 05-3 4 70
OHN l 05-124'7 Geraldine H. Butfer, et al. v. Merck & Co., Inc. 0 5-3 4 7 1
OHN ] 05-1248 l Jackie L. Redinbaugh, et al. v. Merck & Co., Inc. () 5_3 4 7 2
OHN 1 05-1249 Johanna N. Ri`sner v. Merck & Co., Inc. 0 5-3 4 7 3
OHN 1 05-1251 John E. Feltovich, et al. v. Merck & Co., Inc. 05_34 74
OHN l 05-1252 chhard E. Famsworth v. Merck & Co., Inc. 05_3475
OHN 1 _05-1253 1 Estel C. Edwards, Sr. v. Merck & Co., Inc. 05_34 75
OH'N 1 05-1254 1 Mary lane Gould, ct al. v. Merck & Co., Inc. 0 5-3 4 7 7
OHN 1 05-|255 Thomas Brant, et al. v. Merck & Co., Inc. 05-3 4 7 8
OHN 1 05-1256 Elaine Pirtle, et al. v. Merck & Co., lnc. 05-34 7 9
OHN 1 05-1257 Thomas Carrol], et al. v. Merck & Co., Inc.' 05-3 4 8 0
OHN l 05-1259 Jcauettc Danford, etc. v. Merck & Co., lnc. 05~3481
OHN 1 05-1261 t Edna Gardncr v. Mcrck & Co., Inc. 1 05~3482
OHN 1 05-1262 Byron Gilroy, ctc. v. Merck & Co., Inc. 1

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Maxy E. Rosato, et al. v. Merck & Co., Inc.

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OHN 05-1263 J D<mald N. cheffo, er al. v. M@rcl< & Co., Inc. 05~3484
OH`N 05~1265 Roy L. Daniels, et aI. v. Merck & Co., Inc. 05_3485
OHN 05-1266 Jean E. Price v. Merck&Co., Inc. 05_3436
OHN 05-]267 chhard E. Tate, et al. v. Merck & Co., Inc. 05"3437
OHN 05-1263 Nicolaos Hau<iadakis, er al. v. Merck & Co., Inc. 05-3488
OHN 05-1269 Dolores A. Fetter'man, et al. v. Merck & Co,, Inc, 05-3489
OHN 05-1270 David Prince, et al. v. Merck & Co., Inc. 05-34 90
OHN 05-1271 Joseph M. Strawser v. Merck & Co., Inc. 05~34 91
OHN 05-1272 Nicl-c W. '[`enaglia, et al. v. Me-rck & Co., Inc. 05_34 92
OHN 05-1274 103/ce D. vlasek, er a:. v. Mercl< & co., Inc. 05-3493
OHN 05-1275 lean M. casner v. Merck & co., Inc. 05-34 94
OHN 05-1276 Barbara Haselow, ezc. v. Merck & co., Inc. 05"34 95
OHN 05-1277 Eh`zabeth Marcincin v. Merck & Co., Inc. 05_34 95
OHN 05-1281 Roben Am@ld, er al. v. Mer¢k & co., Inc. 05~34 97
OHN 05-]282 Barbara J. Burger, et al. v. Merck & Co., Inc. 05'“3498
OHN 05-2283 Nelson Fuentes, et al. v. Merck & Co., Inc. 05_3499
OHN 05-[284 Hazel Ho]lowell v. Merck & Co., lnc. 05"3500
OHN 05-1235 Maxy L. Hall, er 311 v. Merck & Co., Inc. 05-35 01
OHN 05-1236 Jenny clark, et al. v. Merck & Co., Inc. 05_3502
QHN 05-1283 Thomas R. Hughes, en al. v. Merck & Co., Inc. 05_3593
OHN 05-1289 Auayne J. Cane v. Merck &. co., lnc. 05-3504
OHN 05-]291 Giuseppe lmmorlica, et al. v. Merck`& Co., lnc. 05"3505
OHN 05-1292 Dormhea E. sman, er al. v. Merck & Co., Inc. 0 5-3 5 0 6
OHN 05-1294 Rosemarie Hughes, et al. v. Merck & Co., Inc. 0 5_3 5 0 7
OHN 05-1295 Joyce Copeland, et af. v. Merck & Co., Inc. 05“3503
OHN 05-1296 Lowell L. Staker v. Merck &. Co., lnc. 05~'3509
OHN 05-1297 Frederick D. Fom.z v. Mer¢k & co_, Inc. 05~35 10
OHN 05-1293 Michael Domey, et al. v. Merck & Co., LnC. 05-3511
OHN 05-1299 Joseph L. Dinon, er al. v. Merck & Co., Inc. 05-3512
OH`N 05-1301 Ja.mes Moore, Jr. v. Merck & Co., lnc. 05"3513
oHN 05-1302 E:izaberh Kngore v. Merck & Co., Inc. 05*3514
OHN 05-1303 Michael E. Nolan, et al. v. Merck& co., Inc. 05-3515
OHN 05-1304 Emese N. Maxweu, er al. v. Mercs< & co., Inc. 05-3516
OHN 05_1305 Gloria D. Clark, et al. v. Merck & co., Inc. 05_3517
OHN 05-1306 Martha W. Ogle, et a!. v. Merck & Co., Inc. 0 5_3518
OHN 05-1307 Tammy Kimble v. Merck & co., inc. 0 5 ~35 l 9
OHN 05-1303 Marion D. Sc<m, er al. v. Mercl< & Co., Inc. 05-352 0
OHN 05-1310 Rose J. Kolar, et al. v. Merck&Co.,Inc. 05_3521
OH`N 05-1311 Earl M. Devinney, et al. v. Merck & Co., Inc. 05_3522
OHN 05-132L. Sheryll R. Macon v. Merck &~Co., Inc. 05-3523

" OHN 05-1324 Joseph P. Wilson, et al";"v. Merck &Co., Inc. 05-3 52 4
OHN 05-1328 Da]e E. Jackson, et al. v. Merck & Co., Inc. 05_3525
OHN 05-1329 Mary Kasony v. Merck & Co., Inc. 0 5-35 26
OHN 05-£331 Gary R. Lindsey, et al. v. Merck&Co., Inc. 05-3527
OHN 05-1332 Hattie E. l.oudermilk, et al. v. Merck & Co., Inc. 05_3523
OHN 05-1334 I]diko P. White, et al. v. Merclc & Co., Inc. 05-3529
OHN 05-1336 Dennis Wasson, et al. v. Merck & Co., Inc. 05-'35 30
OH'N 05-1338 Viola Shannon, et al. v. Merck & Co., Inc. 05”3531
0HN 05-1339 Mable J. Taylor v. Merck & co., ln¢. 05_3532
OHN 05-1340 Valerie L. Waliace v. Merck & Co., Inc. 05_3533
OHN 05-1341 Charlene M. Sparren v. Merck & Co., Inc. 0 5 _35 3 4
OHN 05-1342 `J@hn D. Rose v Merck & Co., lnc. 05~3535
OHN 05-1343 shirley swlter, er al. v. Merck & co., Inc. 05-35 3 6
OH`N 05-1344 Rodney Stevenson, Sr., et al. v. Merck & Co., Inc. 05_3537
OHN 05-1345 Edward Sryl<a v. Merck & Co., Inc. 05-3538
OHN 05-1346 Thomas M. Sayman, et al. v. Merck & Co., Inc. 0 5-3 5 3 9
OHN 05-1347 Norman D. Robinson, et al. v. MercI-c & Co., Inc. 05-3540
OHN 05-1348

05-354]_

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Raymond Simonclli v. Mcrck& Co., Inc. 05-3542
Sarah Roberts v. Mcrck & Co., Inc. 0 5“3 5 4 3
Russell Robinson, et al. v. Merck & Co. Inc U 5 ~3 5 4 4
Margaret Varshc, ct al. v. Mcrck & Co. ,111c. 0 5 ” 3 5 4 5
Robert M. Hensler, et al v Mcrck & Cc. ,Inc. 0 5 _3 5 4 6
13dme Stifflcr, Sr. v. Merck & Co lnc. 1 05_3547
Glenn E. Smith v. Merck & Co., Inc. ` l_ 05-3548
William F Saintency, et al v. Mcrck & Co. ,.Inc 05-354 9
Oscar Williams, et al v Mcrck & Co. ,Inc 05-3550
Saijch, etal v. Mcrck&Co. ,.Inc 05-3551
Carolinc J Sanker ct al. v. Mcrck & Co.111c. 05-3552
IudithL Ward, et al v Merck& Co., Inc 05-3553
Shirley chslcy, ct al. v. Mcrck & C0. ,Inc. 0 5 - 3 5 5 4
Tawanda Dcmmings v. Merck & Co. Inc 0 5~3 5 5 5
R_ichard chk ct al. v Mcrck & Co ,Inc. 05 -3 5 5 6
Geraldine Mallory v Merck & Co. ,Inc. 0 5-3 5 5 7
William S. Lcdcrman v. Merck & Co ,Inc. 05-3 558
[rene M Lancsc v. Merck & Co., Inc. 115-3559
William T. Lcmmon, et. al. v Merck & Co., 111c. 05-35 60
Aldino O. Marini, et al. v Merck & Co ,111c 05-3561
Russcll R. Davidson, et al v Merck & Co. ,.lnc 0 5-3 5 6 2
Dcnald R. Crist, ct al v. Merclc & Co I.nc 0 5- 3 56 3
Dav1d E Lundgren, et al. v Mercl< & Co., Inc. 0 5-3 5 6 4
Williard A Faccmire, ct al v Mcrcl< & Cc, Inc. 05"-356 5
Alb`ma 1 Leonctti v Mcrck & Co., Inc. 0 5-3 5 6 6
Stantcn Lavefle ct al. v. Mcrck & Co., Inc. 05-3 56 7
Abraham A. Acc)ff, Sr. v. Mcrck & Co. ,Inc. 0 5m 3 5 6 8
Aaron Dardzinski v. Merck & Co. ,.Inc 0 5-3 5 6 9
Lularcne Bcnscn v. Merck & Co., lnc. 05-3570
Leona Adkins, ct al. v. Mcrck & Co., Inc. 9 5 "35 7 l
Henry Washingtcn, ct al v. Merck & Co., lnc. 1 0 5 -3 5 7 2
Luis Fussalva v. Mercl< & Co. ,.lnc 0 5 ~' 3 5 7 3
John J. Hattcn, ct al. v Mcrclc & Co., lnc. l 0 5 -35 7 4
cm1ans“1ka&cm“mc,maL 1 05-3575
Kcith A. Lange, et al. v. Mcrck & Co.,Inc. l 05-3576
Hcllcn Sutton v. Mcrck & Co. ,.lnc d 0 5 - 3 5 7 7
Virginia Bloomberg, ct al v. Mcrck & Co., lnc 05-3 5 7 8
Rosa Mizcll v. Mcrck& Co. ,111c k 05-3579
Carol Moss, etc v. Merck & Co., Inc. 05-3580
Lec Jolmson, et al. v. Merck & Co., lnc. a__()5 ~3 5 8 l
Marsha Moore, et al. v. Mcrck & Co., Inc. m W 0 5 - 3 5 8 2
Ethel M. Lowman v. Merck & Co., Inc. " _c.. "*' 0 5- 3 5 8 3
Frank P. Joncs, et al. v. Mcrck & Co., Inc. l l 05-3584
chkin Bamett, et al. v Merck & Co Inc. 0 5-3 5 8 5
Antoinette R. Evancho, ct al. v. Mcrck & Co., Inc. 0 5 -3 5 8 6
William Sanko v. Merck & Co. ,111c. 05-35 87
Martin L. Malonc, ctc. v. Mcrck & Co., Inc. 05-3588
Stephen 1 Scpik v. Mercl< & Co. ,.Inc 0 5-3 5 8 9
Donna J Tanfcmo, ct al. v. Mcrck & Co. ,.Inc 0 5 -3 5 9 0
Larry Rudcll Walkcr v. Mcrck & Co., Inc 1 0 5 -3 5 9 l
Almajean Karlovic, et al v. Merck & Co. ,.lnc ' _ 0 5-35 92
Raymond Ervin, Jr., et al v Mcrck&Co., Inc. 05-3593
Matthcw J. Pritchet‘t, ct al. v Merck & Co., lnc 0 5-3 5 9 4
Raymond 1. Rub`mo, ct al. v. Merck & Co. ,lnc 0 5-3 5 9 5
Claudc Tillery, et al. v. Mcrck & Co., Inc. 0 5 -3 5 9 6
Shirley Belknap, ct al. v. Merck & Co. ,Inc. 0 5-3 5 9 7
Nancy J. Kiger, et al. v. Merck&Co., lnc. 05-3598

Harrison Sarver, et al. v. Merck & Co., lnc.

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PAE 2 05_2275
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TXS 4 05-1956

Irma Thompson, et al. v. Merck &. Co., Inc.
Robert E. Maple v. Merck & Co., lnc.
Carley A. Cox v. Merck & Co., Inc.
William LeMaster, etc. v. Merck & Co., Inc.

Michele Stucl<ey, et al. v. Merck & Co., Inc.

Alicia Smith v. Merck & Co., Inc., et al.
Elvia Pompey v. Mercl< & Co., Inc., et al.
Elaine Baylor v. Merck & C__c_)., Inc., et al.
Mary Brantner, et al. v. Merck & Co., Inc.
Connie Ashby v. Merck &_ Co., Inc.

Daniel Dougan, etc. v. Merck & Co., Inc.
Shirley DeMary, etc, v. Merck & Co., Inc.
Shawne Christian, etc. v. Merck & Co., Inc.
Kathieen Gavlinski, etc. v. Merck & Co., Inc.
Leland Lewis, etc. v. Merck & Co., lnc.
Dewayne Cawley, etc. v. Merck & Co., lnc.
Jerusha C. Bartay, etc. v. Merck & Co,, lnc.
David W. A|.mond, et al. v. Merck & Co., lnc.
John W. Astle, et al. v. Merck & Co., Inc.
Gregory L. Austin, et al. v. Merck & Co., Inc.
Muriel Besefsl<e, et al. v. Merck & Co., Inc.
Barbara J. Bolick, et al. v. Merck & Co., Inc.
Ajay K. Bansal, et al. v. Merck & Co., lnc.
Arlene Belmore v. Merck & Co., Inc.

Patrice Blaustein, et al. v. Merck & Co., Inc.
Mary L. Bowman, et al. v. Merck & Co., lnc.
Michael E. Hardwick, et al. v. Merck & Co., Inc.
Gord<)n V. Carr, et al. v. Mer'ck & Co., Inc.

Thomas E. Folino, etc. v. Merck & Co., Inc.
Madeline K. Tamblyn, etc. v. Merck & Co., lnc.

`_£ameszine L.--Bilrs v. Merck & é$., lnc., el a1.
LillianDlene Dawson, ctc"; v. Mercl-c & Co., lnc.

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Susan Patricia Drake v. Merck & Co.. Inc
Dorothy H. Grannis v. Merck & Co., Inc.

 

Carol Iones v. Merck & Co., Inc.

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Policarpio Albertc) Madn'd v. Merck & Co., Inc., et al.

Maria Carmen Capote v. Merck & Co., Inc.

Johrmie M. Ray, et al. v. Mcrck & Co., lnc.

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SEC . L/3

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TEXAS WESTERN
TXW l 05-331
TXW l 05~402
TXW l 05-419
TXW 6 05-223

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VAW 1 05-47

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Laura Rojas v. Merck & Co., Inc.

'Melvina Miller, et al. v. Merck & Co., Inc.

Edwin M. Richison, et al. v. Merck & Co., Inc.
Crystal Polk v. Merck & Co., Inc., et al.

larry A. Colvell, et al. v. Merck & Co., Inc.
Bul'ton Eugene Potter v. Merck & Co‘ Inc.

Willie Mae Davis, et al. v. Merck & Co.1 Inc.

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Page 9 Of 15 g EDLA

SEC. L/3

05-3638
05-3639
05-3640
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Case 2:05-cv-02391-BBD-dkv Document 8 Filed 08/15/05 Page 10 of 15 PagetD,@§; 015

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